                              UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF UTAH

In re:                            )
                                  )
PREDICTIVE TECHNOLOGY GROUP, INC. )                          Case No. 23-25147-
Tax ID / EIN: XX-XXXXXXX          )                          Chapter 11
                                  )
       Debtor.                    )


                      Chapter 11 Subchapter V Trustee's Report of No Distribution

        I, Joli A. Lofstedt, having been appointed trustee of the estate of the above-named debtor, report
I collected funds totaling: $0.00. On January 12, 2024, the case was converted to a case under Chapter 7
with no plan confirmed and no plan payments made to the trustee. The trustee did not request
compensation under 11 U.S.C. § 330(a). I hereby certify that the estate of the above-named debtor has
been fully administered through the date of conversion. I request that I be discharged from any further
duties as trustee.

Dated: April 25, 2024.                                   /s/ Joli A. Lofstedt
                                                         Joli A. Lofstedt, Trustee
                                                         P.O. Box 270561
                                                         Louisville, CO 80027
                                                         Ph: (303) 476-6915
                                                         Fx: (303) 604-2964
                                                         joli@jaltrustee.com


STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-11(v)-NDR C
